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                                                                                           FILED
                        IN UNITED STATES DISTRICT COURT FOR THE                           MAR 1
                          NORTHERN DISTRICT OF WEST VIRGINIA                                     0
                                                                                     U S DISTRICT COURT-wVND
                                                                                       CLARKSBURG, WV 26301
   UNITED STATES OF AMERICA,

   v.                                                Criminal No.                   -




   BILLY MOORE,                                      Violations:       18 U.S.C.   § 11l(a)(1)
                  Defendant.




                                            INDICTMENT
The Grand Jury charges that:
                                             COUNT ONE

                     (Assault of a Correctional Officer Involving Physical Contact)

        On or about March 4, 2021, in Preston County, in the Northern District of West Virginia,

defendant BILLY MOORE, an inmate in the custody of the Bureau of Prisons at USP Hazelton, did

intentionally and forcibly assault any person designated in Section 1114 of Title 18 of the United States

Code, namely Z.W., a federal correctional officer employed with the Federal Bureau of Prisons, while

said officer was engaged in the performance of official duties, and, in doing so made physical contact

with Z.W., in violation of Title 18, United States Code, Section 11 1(a)(1).

                                                      A true bill,


                                                     ‘5/
                                                      Grand Jury Foreperson

Is!
WILLIAM IHLENFELD
United States Attorney

Christopher L. Bauer
Assistant United States Attorney
